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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
NEW ORLEANS DIVISION

IN RE: KATRINA CANAL BREACHES

LITIGATION

* CIVIL ACTION
* 05-4182

* MAGISTRATE 2
* SECTION “K”

*k

PERTAINS TO: 07-4775
MURPHY BUILDING CORP

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NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing on defendant, The Southeast Louisiana

Flood Protection Authority East’s Motion to Dismiss is hereby set on the 26" day of

December, 2007 at 9:30 a.m.

Respectfully submitted,

DUPLASS, ZWAIN, BOURGEOIS,
MORTON, PFISTER & WEINSTOCK

s/Jennifer M. Morris

LAWRENCE J. DUPLASS #5199

ANDREW D. WEINSTOCK #18495

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The Southeast Louisiana Flood Protection
Authority East
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CERTIFICATE OF SERVICE

I hereby certify that on the 4th day of December, 2007, a copy of the foregoing
was filed electronically with the Clerk of Court using the CM/ECF system. Notice of this
filing will be sent to counsel of record by operation of the court’s electronic filing system.

s/ Jennifer M. Morris

JENNIFER M. MORRIS

